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June 27, 2018


Honorable J.P. Stadtmueller
United States District Court
Eastern District of Wisconsin
517 E. Wisconsin Avenue
Milwaukee, WI 53202

RE:     United States v. Tina Jenkins
        Case Nos. 18-CR-14 (JPS)

Dear Judge Stadtmueller:

In advance of Ms. Jenkins’ sentencing, the defense submits this letter in support of
the parties’ joint recommendation that the Court impose a sentence of probation.
The parties reached this recommendation after discussion and analysis of Ms.
Jenkins’s personal history, the offense, and related cases. This memorandum
provides the Court with some of the parties’ reasoning regarding their
recommendation.




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Ms. Jenkins’ limited criminal record and strong employment history. The
presentence report accurately notes that Ms. Jenkins has zero criminal history
points. She has one prior conviction, which arose 20 years ago and resulted in a
sentence of probation that she successfully completed. So instead of a long
criminal history, Ms. Jenkins has a long work history, reflecting her nearly 30 years
in the work force. She has worked as a motel clerk, a telemarketer, a commercial
cleaner, and an aide at a group home. In recent years, she worked as a bartender,
at Wal-Mart, and then for the Postal Service for roughly three years. After she quit
the Postal Service, she struggled to find work for several months, but then began
working at a commercial cleaning company. Ms. Jenkins, in short, has consistently
worked throughout her life, and continues to work today.

The limited nature of the offense, and Ms. Jenkins’ immediate and consistent
acceptance of responsibility. Ms. Jenkins took money from letters that she knew
might contain cash. But she did not steal or attempt to cash checks, and her
criminal behavior went on for weeks, not months or years. After being confronted
by postal inspectors, Ms. Jenkins immediately and fully confessed. Instead of
looking for a new job while on leave (which would have allowed her to keep
receiving benefits), she quit, recognizing that she didn’t deserve to keep working
for the post office. Ms. Jenkins never recanted her statement, and quickly agreed
to plead guilty in this matter, accepting a felony conviction. She recognizes how
serious an error she made, accepts the consequences, and is trying to avoid ever
putting herself in the same personal circumstances. Ms. Jenkins has also agreed to
pay the full amount of restitution owed in this case.

The role of substance abuse in the offense, and Ms. Jenkins’ independent efforts
to seek help. Ms. Jenkins was drinking heavily and regularly at the time of the
offense, while also taking prescription opiates to relieve her back pain. After being
caught for this offense and leaving the post office, she realized that she needed
help. So without being forced or prompted by anyone else, she entered a substance
abuse treatment program. See PSR at ¶53. She has been enrolled in this program
for more than seven months, as verified by the probation office. Ms. Jenkins has
found the treatment helpful, and plans to continue to receive treatment going
forward. See id. As the parties recognized during their plea discussions, this
continued treatment will help reduce Ms. Jenkins’ risk of recidivism.



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Mr. Jenkins’ challenging personal history. Throughout her life, Ms. Jenkins has
overcome much. Her parents split up when she was four years old, and her mother
became a crack addict, who would frequently disappear only to be found days or
weeks later in a drug house. Ms. Jenkins’ father remarried, and his new wife
resented the burden presented by Ms. Jenkins and her siblings. So when Ms.
Jenkins was in her teens, her father and stepmother announced that they were
moving out of Milwaukee, and told Ms. Jenkins and her two sisters that they
couldn’t come—there would be no room for them. On the edge of homelessness,
Ms. Jenkins legally emancipated herself, got state assistance, and managed to find
an apartment for herself and her two younger sisters. Ms. Jenkins then dropped
out of high school after having a baby, her son Desmond, and then getting
pregnant again, this time with her daughter Jasmine. So she worked and raised
her kids as a poor single mother, although years later she went back to school and
got a GED. Mr. Jenkins continues to serve as the head of her family, tasked with
providing for her children all of her adult life. At the time of the offense, she was
supporting not just herself, but also two of her adult children and one of her
grandchildren. In addition, Ms. Jenkins is a widow. She was married for about a
decade, but her husband died suddenly and unexpectedly from an infection
caused by a surgical intervention.

In all, the offense in this matter appears highly unlikely to recur, given the
consequences and Ms. Jenkins’s personal history. She immediately accepted
responsibility, and knowing faced the consequences including the loss of her job,
a felony conviction, and a meaningful restitution order. For these reasons, and as
will be further explained at the sentencing hearing, the defense respectfully
requests that the Court accept the parties’ joint recommendation, and sentence Ms.
Jenkins to a within-guidelines sentence of probation.

Thank you for your attention to this matter.

Respectfully submitted,

/s/Anderson M. Gansner

AMG/lc



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